           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                       CRIMINAL NO. 1:05CR248-1


UNITED STATES OF AMERICA )
                          )
                          )
         VS.              )              MEMORANDUM AND ORDER
                          )
                          )
DANNY JOE BROOKS                         )
                        )


      THIS MATTER is before the Court on the Defendant’s timely filed

objections to the Memorandum and Recommendation of United States

Magistrate Judge Dennis L. Howell.1 Pursuant to standing orders of

designation and 28 U.S.C. § 636, the undersigned referred the Defendant’s

motion to suppress to the Magistrate Judge for a recommendation as to

disposition.

      A district court conducts a de novo review of those portions of a

Memorandum and Recommendation to which specific objections are filed.

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       On February 21, 2006, the Defendant entered into a plea agreement
with the Government wherein he agreed to plead guilty to Count Two of the
indictment; however, he preserved for appeal the Court’s ruling on his
motion to suppress. See, Plea Agreement, filed February 21, 2006, at 5.
Defendant formally entered his plea during a Rule 11 hearing held
February 27, 2006.


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28 U.S.C. § 363(b). Where no objection is made, the Court need “‘only

satisfy itself that there is no clear error on the face of the record in order to

accept the recommendation.’” Diamond v. Colonial Life & Accident Ins.

Co., 416 F.3d 310, 315 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72.

Advisory Committee Note).

      Here, Defendant filed only general objections to the Memorandum

and Recommendation. Defendant does not cite to specific parts of the

recorded hearing nor does he offer any citations to case law supporting his

positions regarding the evidence presented. In fact, all of his objections

appear to challenge the Magistrate Judge’s findings as to the credibility of

the witnesses and sufficiency of the evidence presented. However, the

Magistrate Judge presided over the hearing and had the advantage of

seeing, hearing and judging the credibility of each witness firsthand.

      The Magistrate Judge sits as a trial court making findings of fact. A

trial court’s findings may only be reviewed “with great deference especially

when the trier of fact has based his decision in part on credibility of

witnesses. . . . ‘Findings of fact . . . shall not be set aside unless clearly

erroneous, and due regard shall be given to the opportunity of the trial

court to judge the credibility of the witnesses.’” McNairn v. Sullivan, 929



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F.2d 974, 977 n.3 (4th Cir. 1991) (quoting Fed. R. Civ. P. 52(a)); Park v.

Shiflett, 250 F.3d 843, 855 (4th Cir. 2001). While the undersigned has a

duty to make a “de novo determination” as to the findings of the Magistrate

Judge to which specific objections are filed, a “decision to rehear testimony

is within the sole discretion of the district judge, even as to those findings

based on the magistrate’s judgment as to credibility[.]” Proctor v. State

Gov’t of North Carolina, 830 F.2d 514, 518 n.2 (4th Cir. 1987) (citing

United States v. Raddatz, 447 U.S. 667 (1980)); 28 U.S.C. § 636(b).

      In this case, the evidence supports the Magistrate Judge’s findings

and the Court is satisfied that the same are not clearly erroneous.

General, conclusory, or boilerplate objections without any citations to case

law, do not warrant a de novo review. Battle v. United States Parole

Comm’n, 834 F.2d 419, 421 (5th Cir. 1987); Wells v. Shriners Hosp., 109

F.3d 198, 200 (4th Cir. 1997).

      However, out of an abundance of caution, the undersigned reviewed

the recorded proceedings before the Magistrate Judge and concludes that

the evidence presented fully supports his factual findings and legal

conclusions.      Therefore, having conducted a careful review of the

Defendant’s general objections, the Court adopts the Magistrate Judge’s



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Memorandum and Recommendation that Defendant’s motion to suppress

be denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion to

suppress is hereby DENIED.


                                    Signed: March 15, 2006




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